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                            United States District Court for the Southern District of Iowa

Presiding: Honorable James E. Gritzner
Case No. 3:16-cv-00105                                      : Clerk’s Court Minutes – Motion Hearing
______________________________________________________________________________________________________________________________________

Plaintiff(s)                                                : Defendant(s)
                                                            :
Gabriel Steele, Individually, as Executor of the            : City of Burlington, Iowa and Jesse Hill
Estate of Autumn Steele, and as Next of Friend              :
for his Minor Child G.S.; Sean Schoff, as Next              :
of Friend for his Minor Child K.S.; and Gina                :
Colbert,  Individually                                      :
_______________________________________________________________________________________________________________________________________

Plaintiff(s) Counsel: David A. O'Brien; Trent A. Henkelvig


Defendant(s) Counsel: Martha L. Shaff; Brandon Wayne Lobberecht

Court Reporter: Linda Egbers                                :   Interpreter: N/A
_______________________________________________________________________________________________________________________________________

Motion(s) for Ruling:                                                            Ruling           /     Ruling Reserved
______________________________________________________________________________________________________________________________________
[36] Pls.' Motion for Summary Judgment                                                            :            Yes
[38] Defs.' Motion for Summary Judgment                                                           :            Yes
                                                                                                  :
                                                                                                  :
_______________________________________________________________________________________________________________________________________

Proceedings:
All parties represented by counsel. Counsel present arguments on motions. Court takes matters under
advisement.




Time Start: 10:27 a.m.
Time End: 11:37 a.m.
Date: May 24, 2018                                                                        C. Crawford
                                                                                          __________________________
                                                                                          Deputy Clerk
